                 Case 8:08-cv-00750-DKC                Document 1          n
                                                                    Filed 03/20/08         Page 1 of 7


                                                                                  ;
                           FORM TO BE USED BY A PERSON FILING A PETITION FOR
                              'NRIT OF HABEAS CORPUS UNDER 28 U.S.c. 92254      . rlL.t:U
                                                                  .      U.S. DISTRICT COURT
                                  IN THE ~TED  STATES DISTRICT COURT DISTAIOT OF MARYLAND
                                            FOR THE DISTRICT OF MARYLAND
                                                                                              MAR 202008
J),cAl                    &:sIte            bJDjhb                                           CLeRK'S OFFICt::
                                                                                             .AT BALTIMORE DEPUTY
                                                                                      BY
      (,kWUQY( II, 19K~
         ~              ~6            $oE     581
                      /

.        l)es5tf?                     /JJcI 2071'(
    (Full name, date of birth, identification
    number and address of the petitioner)

               v.                                              Civil Action No~DKCpCi"        1m
                                                               (Leave blank. To be filled in by Court.)

         l?Dbet-+ . f;oepe I .
    (Name of the Warden or other person having
    custody of the petitioner)
           and

    THE ATTORNEY GENERAL OF THE STATE
    OF MARYLAND


                                       'PETITION   FOR WRIT OF HABEAS CORPUS

    1.         Name and location of the court which entered the judgment/conviction         being challenged.

                                          wt:-i/
                                             I
    2.         Date of judgment or sentencing.             .

         liJ,w-vt;r            2,?Ad ~/            ~   .
    3.         Length of sentence.




    2254 Petition (Rev. 02/18/2005)
             Case 8:08-cv-00750-DKC                   Document 1       Filed 03/20/08        Page 2 of 7



4.         Nature of offense (all counts).

J- ," 'h~                  M urd.l       2. i;~r£t.       o,ll...pM ffl",,(,( I[Ihr./)~ l<jC'(    YA~.(
5.         What was. your plea? (check one)

            (a)       Not Guilty                                          [v(
            (b)       Not Guilty on Agreed Statement of Facts             []
          . (b)       Guilty                                              []
            (c)       Nolo Contendere                                     []
            (d)       Alford Plea                                         []

If you entered different pleas to. different counts or charges, explain.
     .'




6.         Kind oftrial.          (check one)

           (a)        Jury                        [,1
           (b)        Judge Only                  [   ]

7.         Did you testify at the trial?

           Yes [       ]                  NO[.;(
8.         Did you appeal or seek leave'to appeal to the Maryland Court of Special Appeals?

           Yes    [v{                     No [    ]

           If you answered yes, provide the following information:

           A.         What grounds did you raise?

                   Cb LOqAI.f;e I £;teJ               ~    oh.k.e1J --b ,lolrJlte pre&.dun; \hdA,!I~'11
                  ~ TJUiil           C(Jltr-t    ecM:<i    AlICWil   6~      10 oJftdu.(;c     hJf.bhif evJ~(<-
                   @ 6h.k



2254 Petition (Rev. 02/18/2005)                              2
                                                                               .,


              Case 8:08-cv-00750-DKC             Document 1         Filed 03/20/08   Page 3 of 7



          R           What was the result?




           C.         What was the date of the decision by the Court of Special Appeals?




9.         Did you file a petition for writ of certiorari to the Maryland Court of Appeals?

           Yes    [v1               No [     ]

           If you answered yes, what was the result?

                  rea;; 0oA/J'//;rc/ . u/ .bed/;/'
           If you answered yes, what was the date of the decision by the Court of Appeals?
                       ..'                                                      I




                      ~cA              ~. ZOdC                                  ;
10.        Did you file a petition for writ ofcertiorari to the United States Supreme Court?

           Yes [       1            NO[y(
           If you answered yes, what was the result?



                                                                                I
           If you answered yes, what was the date of the decision by the Supreme
                                                                           ,     Court?
                                                                                !




11.        Have you filed any post conviction petitions challenging this judgment/sentence?

           Yes [ ~                  No [].                     ..               :             c




If you answered yes, provide the following information for each post conviction petition:

           A.         Name and location of the court where you filed.




2254 Petition (Rev. 02/18/2005)                        3
                    Case 8:08-cv-00750-DKC                Document 1     Filed 03/20/08      Page 4 of 7



               B.            Date the post conviction petition was filed.
               ",




                C:           What grounds did you raise?

                                                                                 aAJed- .'h, lt1f~r
                                                                                       j



                                 Vt>trrtje. @        'j:)el-;"~Alt:/
                                                     I
                                                                                  Adviser!' 01 r(yhl
                                                                                       f
                                                                                       I

                                .~           C4urb~/                                   i
                                                                                       I




               D.            What was the result?




               E.            What was the date of the decision?

                                                     /3/ 201)1

               F.            Did you file an application for leave to appeal to the Court of Special Appeals?

                             Yes [~                 No [     ]

               G.            What was the result?
                                                             ,

                                                   ~,de~ed             »~.dle/
               H.            What was the date of the decision by the Court of Special Appeals?

                                            J/ldutll'jl          ZJ; z;ooJ>
                                                         l
               1.           If the Court of Special Appeals granted your application for leave to appeal but
                            affirmed a decision denying post conviction relief, did you file a petition for writ of
                            certiorari to the Court of Appeals?

                            Yes [       ]           No [     ]

               J.           What was the result?




2254Pelition        (Rev. 02/18/2005)                            4
                Case 8:08-cv-00750-DKC           Document 1             ()
                                                                 Filed 03/20/08      Page 5 of 7



              K.        What was the date ofthe decision by the Court of Appeals?
          ,',




12,     Have you filed any other actions in any state or federal court challenging the judgment which
is the subject of this petition?                                            .'..

              Yes [                   No[4
              If you answered yes, provide an explanation of what you filed, where, when, and what the
              result was.




          .        '.                                                          r
13.    Do you CURRENTLY HAVE PENDING in any state or federal bourt any motion, petition,
or appeal concerning thejudgmen~being challenged in this petition? I


              Yes [                   No   [v(
              If you answered yes, describe what you filed, when, where, and its current status.




14.     In most cases federal law requires that a habeas corpus petition be filed within one (1) year
ofthe date your conviction became final. The time when a post conviction petition is pending or on
appeal does NOT count towards the one year. 28 U.S.C. S 2244(d). If this petition is being filed
more than one year after your conviction became final, explain why it is late and/or why you believe
the one year limitations period does not apply.




2254 Petition (Rev, 02118/2005)                         5
             Case 8:08-cv-00750-DKC              Document 1          Filed 03/20/08               Page 6 of 7



 15.     State BRIEFLY every ground on which you claim you are being held unlawfully. BRIEFLY
.sUIIllnmize the facts suppOIting each ground. Ifnecessmy, you may att~eh additional pages.

           A..        Ground One:-P~;f[f;OAle"               ftiD{      MII!sd of'.Rtft                             tJ ~utk ""~l
                      Supporting Facts:   j2el-tlt;Wer       &JA.5       A/of;                 Adi/l5el (j{:
                           ?cJ'f _ le          t:our /:;      -r!U<J             by
                                                                                  {:
                                                                                                       tour-t)
                                                                                   I
                           fnilik         eti.uJ:seI) dar             s. 5bt/c.S                 /'fHottdcj/
                                                                                                                I




           B.         Ground Two:

                      Supporting Facts:                                                        -----
                                                                                       ;",:!




           C.         Ground Three:

                      Supporting Facts:                                                                     _




           D.         Ground Four:

                      Supporting Facts:                                            '--                      _




2254 Petition (Rev. 02118/2005)                          6
           Case 8:08-cv-00750-DKC                     Document 1         Filed 03/20/08         Page 7 of 7

                                                                                        ,
                                                                                        I
16. . If any of the issues that you are raising in this petition have nbt been presented to a state
cO.llrt/"explain'vhich issues are being raised fur the first time and why:




17.     Do you have any other sentence(s) to be served                                  !after you    complete     the
sentence(s)/commitment that is being challenged in this petition?                       ,
                                                                                        I


           Yes[                                No[0
           If you answered yes, provide the following information about each of your future sentences:
                                                                                        !
                                                                                        1                  '
           A.       ..Name and location of the court that imposed the senten&.




           B.         Length of the sentence.                    ~                                             _
                                                                                        I

           C.         Have you filed, or do you intend to file, a petition attacking this sentence?

                      Yes [       ]               No [   ]

          ,WHEREFORE, Petitioner prays that the Court grant him all r~liefto which he may be

entitled in this action:

I DECLARE UNDER THE PENALTIES OF PERJURY THAT THE INFORMATION
ABOVE IS TRUE AND CORRECT.

                         11                    ;1Jat'C/1 .
SIGNED THIS                           day~f'

                                                                         :a;; 2(£
                                                                            , 2008          .

                                                                     (original signature' 0 f pet' oner)




2254 Petition (Rev. 02/18/2005)                              7
